Case 2:16-cv-02029-GW-KS Document 131-1 Filed 03/29/22 Page 1 of 5 Page ID #:1657



     1   KEMNITZER, BARRON, & KRIEG, LLP
         BRYAN KEMNITZER             Bar No. 066401
     2   ADAM J. McNEILE             Bar No. 280296
         KRISTIN KEMNITZER           Bar No. 278946
     3   42 Miller Avenue, Third Floor
         Mill Valley, CA 94941
     4   Telephone: (415) 632-1900
         bryan@kbklegal.com
     5   adam@kbklegal.com
         kristin@kbklegal.com
     6
         Lyngklip & Associates, PLC
     7   IAN LYNGKLIP               Bar No. P47173
         24500 Northwestern Hwy #206
     8   Southfield, MI 48075
         Telephone: (248) 208-8864
     9   ian@consumerlawyers.com
    10   Admitted Pro Hac Vice

    11   Attorneys for Plaintiff Aram Terteryan, Tatyana Davtyan, Marine Davtyan, and the putative
         class
    12

    13

    14                              UNITED STATES DISTRICT COURT

    15                             CENTRAL DISTRICT OF CALIFORNIA

    16                                        WESTERN DIVISION

    17
         ARAM TERTERYAN, TATYANA                          Case No. 2:16-cv-02029-GW-KS
    18   DAVTYAN, and MARINE DAVTYAN,
         individually and on behalf of all others         CLASS ACTION
    19   similarly situated,
                                                          DECLARATION OF BRYAN
    20                        Plaintiff.                  KEMNITZER IN SUPPORT OF A JOINT
                                                          REQUEST FOR BRIEF CONTINUANCE
    21          v.                                        OF SCHEDULE RE NOTICE AND FINAL
                                                          APPROVAL
    22   NISSAN MOTOR ACCEPTANCE
         CORPORATION,                                     Courtroom 9D – 9th Floor (1st St.)
    23                                                    Hon. George H. Wu
                                 Defendant
    24   ____________________________________/

    25   ///
    26
         ///
    27

    28   ///

                                                         1
                                           DECLARATION OF BRYAN KEMNITZER
Case 2:16-cv-02029-GW-KS Document 131-1 Filed 03/29/22 Page 2 of 5 Page ID #:1658



     1                           DECLARATION OF BRYAN KEMNITZER
     2
                   I am an attorney in the above-captioned matter before this court. I make this declaration
     3
         in support of the joint request for a brief continuance of the schedule, and authorization and
     4
         approval to send out the Proposed Notice (Settlement Agreement §7.01(f)).
     5
         1.        On October 11, 2019, the Court granted Preliminary Approval of the Proposed Class
     6
         Action Settlement (Preliminary Approval Order (docket 117)). Since that time, the parties have
     7
         requested a number of continuances for a number of reasons. These continuances are as follows:
     8
         March 18, 2020 (Dkt. 120), July 3, 2020 (Dkt. 122), December 9, 2020 (Dkt. 125), and July 13,
     9
         2021 (Dkt. 129).
    10
         2.        In an effort to identify the recipients of the calls at issue in the case, and identify class
    11
         members, we served subpoenas on numerous cell phone carriers including: Verizon, AT&T, T-
    12
         Mobile, MetroPCS, U.S. Cellular, and CenturyLink. These subpoenas were served on the carriers
    13
         in December of 2019.
    14
         3.        As set forth in the Joint Status Report And Request For Hearing, filed simultaneously
    15
         with this declaration, we encountered numerous difficulties in obtaining the necessary subscriber
    16
         information from the carriers. None of the carriers provided the data requested by the compliance
    17
         deadline in the subpoena.
    18
         4.        It therefore was necessary for us to file a case in the United States District Court in the
    19
         Eastern District of Michigan Southern Division to try to get compliance by the carriers with
    20
         regard to the data requested in the subpoenas.
    21
         5.        On July 13, 2021 the parties filed a Joint Status Report (Dkt. 128) setting forth some of
    22
         the problems class counsel had encountered with the cell phone carriers. Exhibit F Joint Status
    23
         Report.
    24
         6.        Set forth in Exhibit E to the Joint Status Report are the cover pages for the multiple Court
    25
         Orders from the USDC Eastern District of Michigan Southern Division. They include the
    26
         following:
    27
                   A. October 28, 2020 Stipulated Order to Compel Verizon Wireless to Produce
    28                Documents in Response to Subpoena.

                                                                2
                                              DECLARATION OF BRYAN KEMNITZER
Case 2:16-cv-02029-GW-KS Document 131-1 Filed 03/29/22 Page 3 of 5 Page ID #:1659



     1          B. November 19, 2020 Stipulated Order to Compel AT&T Wireless to produce
                   documents in response to subpoena.
     2          C. January 4, 2021 Stipulated Order Compelling T-Mobile to Produce Documents in
                   Response to Subpoena.
     3          D. June 2, 2021 Stipulated Order to Compel AT&T Wireless to Produce Documents in
                   Response to Subpoena.
     4          E. October 26, 2021 Emergency Motion to Compel Compliance with Document
                   Production Request and Court Order.
     5          F. November 10, 2021 Stipulated Order Compelling T-Mobile to Produce Documents in
                   Response to Subpoena.
     6
                Because the Michigan court had ordered compliance with the subpoenas, in October and
     7
         November 2020, and in January and June 2021, class counsel anticipated that the carriers would
     8
         actually comply with the court orders.
     9
         7.     In its Order of July 13, 2021, this Court stated “there will be no further continuances”.
    10
         Recognizing the Court’s order that no further continuances would be granted, the parties did
    11
         everything possible to comply with the Court’s order.
    12
         8.     Subsequent to this Court’s Order, T-Mobile did not comply with the subpoena, requiring
    13
         the filing of an Emergency Motion to Compel against T-Mobile which resulted in the USDC
    14
         Order of November 10, 2021 (Ex. G to the Joint Status Report).
    15
         9.     Even though there was a Court Order, T-Mobile did not produce the subscriber
    16
         information sought in the subpoena until it produced the information to the class administrator
    17
         KCC on January 4, 2022.
    18
         10.    As set forth in section three of the Joint Status Report, after obtaining the final
    19
         information from T-Mobile, the Notice List was compiled by using the subscriber information
    20
         produced by the carriers and additional information KCC obtained by conducting a reverse
    21
         lookup, and matching the data provided with NMAC’s customer data base. This resulted in
    22
         Notice List of 119,546 subscribers to cell numbers dialed by NMAC.
    23
         11.    These steps could not be completed and the Notice List could not be finalized until
    24
         March 24, 2022. This list has been provided to the class administrator KCC, which is prepared
    25
         to provide notice to the class by April 11th.
    26
         12.    The parties recognize the Court’s statement in its July 13, 2021 Order that no further
    27
         continuances would be granted and had no intention of requesting another continuance.
    28

                                                            3
                                           DECLARATION OF BRYAN KEMNITZER
Case 2:16-cv-02029-GW-KS Document 131-1 Filed 03/29/22 Page 4 of 5 Page ID #:1660



     1   However, the conduct of the carriers and their refusal to timely comply with the legitimate

     2   subpoena request prevented the parties from obtaining the necessary information to provide

     3   notice in a timely manner and caused an unforeseen delay.

     4   13.    Pursuant to the Joint Status Report the parties request that the court extend the proposed

     5   deadlines as follows:
                   Previous             Proposed New
     6             deadline             Deadline
     7            February 15, 2022     April 11, 2022     Deadline to Provide Class Notice (see
                                                           §8.01 of Settlement Agreement
     8
                  April 6, 2022         May 31, 2022       Deadline for Plaintiffs’ Motion for
     9            [50 days after                           Attorneys’ Fees (see §5.03 of the
                  Class Notice                             Settlement Agreement)
    10            Date]
                  April 18, 2022        June 10, 2022      Deadline for Class Members to file
    11            [60 days after                           Objections or submit Requests for
                  Class Notice                             Exclusion/Opt-Outs (see §§2.28, 2.29 of
    12            Date]                                    the Settlement Agreement)
    13            May 16, 2022          July 11, 2022      Deadline for Settlement Class Members to
                  [90 days after the                       Submit a Claim Form (see §2.09 of the
    14            Class Notice                             Settlement Agreement)
                  Date]
    15            June 2, 2022          July 22, 2022      Deadline for Parties to File the Following:
                  [14 days before                          (1) List of Class Members who Made
    16            the Final                                    Timely and Proper Requests for
                  Approval Hearing                             Exclusion;
    17
                                                           (2) Proof of Class Notice and CAFA
    18                                                         Notice; and
                                                           (3) Motion and Memorandum in Support
    19                                                         of Final Approval, including responses
                                                               to any Objections.
    20                                                     (see §11.02 of the Settlement Agreement)
    21            June 9, 2022          July 29, 2022      Deadline for Defendant to File any
                  [7 days before the                       response to request for final approval
    22            Final Approval
                  Hearing]
    23            June 16, 2022         Aug. 4, 2022       Final Approval Hearing
                  at 8:30 a.m.
    24

    25

    26   14.    Based on the foregoing the parties request authorization to send out the proposed notice
    27   and for the extension of time for KCC to provide class notice and complete the settlement
    28   process required pursuant to the Preliminary Approval Order.

                                                           4
                                          DECLARATION OF BRYAN KEMNITZER
Case 2:16-cv-02029-GW-KS Document 131-1 Filed 03/29/22 Page 5 of 5 Page ID #:1661



     1          I declare under penalty of perjury, under the laws of the United States of America, that

     2   the foregoing is true and correct.

     3          Executed March 29, 2022 in Mill Valley, California.

     4

     5

     6                                                  BRYAN KEMNITZER
     7

     8

     9
    10

    11

    12

    13

    14

    15

    16

    17

    18

    19
    20

    21

    22

    23

    24

    25

    26
    27

    28

                                                            5
                                              DECLARATION OF BRYAN KEMNITZER
